Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.802 Page 1 of 30



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      official capacities
  9
                       IN THE UNITED STATES DISTRICT COURT
 10
                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 11
 12
 13
 14   THE GEO GROUP, INC.,                      Case No. 3:19-cv-2491-JLS-WVG
 15                                  Plaintiff, MEMORANDUM OF POINTS AND
                                                AUTHORITIES IN SUPPORT OF
 16               v.                            MOTION TO DISMISS
                                                COMPLAINT
 17
      GAVIN C. NEWSOM, in his official          Date:       April 23, 2020
 18   capacity as Governor of the State of      Time:       1:30 p.m.
      California; XAVIER BECERRA, in            Dept:       4D
 19   his official capacity as Attorney         Judge:      Hon. Janis L. Sammartino
      General of the State of California,       Trial Date: None set
 20                                             Action Filed:    1/24/2020
                                  Defendants.
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                  Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.803 Page 2 of 30



  1                                            TABLE OF CONTENTS
  2
                                                                                                                            Page
  3   Introduction................................................................................................................ 1
  4   Background ................................................................................................................ 1
            I.     AB 32 .................................................................................................... 1
  5         II.    Relevant Federal Immigration Detention Statutes ................................ 4
  6         III. Relevant Federal Law Related to U.S. Marshal Service
                   Detention Facilities ............................................................................... 5
  7         IV. Plaintiff’s Complaint ............................................................................. 6
  8   Legal Standard for Motion to Dismiss ...................................................................... 6
  9   Argument ................................................................................................................... 7
            I.     AB 32 Does Not Violate Governmental Immunity Principles ............. 7
 10                A.        AB 32 Does Not Directly Regulate the Federal
 11                          Government ................................................................................ 8
                   B.        AB 32 Does Not Discriminate Against the Federal
 12                          Government .............................................................................. 10
 13                          1.        AB 32 Does Not Treat Private Companies That
                                       Contract With the Federal Government Worse Than
 14                                    Private Companies That Contract With State or
                                       Local Governments ........................................................ 10
 15                          2.        AB 32’s Exceptions are Not Discriminatory ................. 11
 16         II.    AB 32 Is Not Preempted by Federal Law ........................................... 14
                             1.        Congress Did Not Clearly and Manifestly Intend to
 17                                    Preempt AB 32 Through Federal Immigration Law ...... 15
 18                          2.        Congress Did Not Clearly and Manifestly Intend to
                                       Preempt AB 32 Through Federal Criminal Law ............ 20
 19   Conclusion ............................................................................................................... 21
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                    i
                         Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.804 Page 3 of 30



  1                                        TABLE OF AUTHORITIES
  2
                                                                                                                     Page
  3   CASES
  4   Arizona v. United States
  5      567 U.S. 387 (2012) ........................................................................................ 5, 17
  6   Ashcroft v. Iqbal
  7      556 U.S. 662 (2009) .............................................................................................. 6

  8   Boeing Co. v. Movassaghi
        768 F.3d 832 (9th Cir. 2014) ................................................................. 7, 9, 10, 11
  9
 10   Brown v. Plata
         563 U.S. 493 (2011) ............................................................................................ 13
 11
      Chamber of Commerce of U.S. v. Whiting
 12
        563 U.S. 582 (2011) ............................................................................................ 16
 13
      Chinatown Neighborhood Ass’n v. Harris
 14     794 F.3d 1136 (9th Cir. 2015) ............................................................................. 15
 15
      Comm. of Cent. Am. Refugees v. INS
 16     795 F.2d 1434 (9th Cir. 1986) ............................................................................. 18
 17   Crosby v. National Foreign Trade Council
 18     530 U.S. 363 (2000) ...................................................................................... 18, 19
 19   CTIA - The Wireless Ass’n v. City of Berkeley, Cal.
        928 F.3d 832 (9th Cir. 2019) ......................................................................... 14, 15
 20
 21   Davis v. Michigan Dep’t of Treasury
        489 U.S. 803 (1989) ...................................................................................... 12, 13
 22
      Dawson v. Steager
 23
        139 S. Ct. 698 (2019) .......................................................................................... 12
 24
      Gade v. National Solid Wastes Management Ass’n
 25     505 U.S. 88 (1992) .............................................................................................. 14
 26
      Gartrell Construction Inc. v. Aubry
 27     940 F.2d 437 (9th Cir. 1991) ......................................................................... 19, 20
 28
                                                                ii
                        Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.805 Page 4 of 30



  1                                       TABLE OF AUTHORITIES
  2                                             (continued)
                                                                                                                    Page
  3   Goodyear Atomic Corp. v. Miller
  4     486 U.S. 174 (1988) .............................................................................................. 8

  5   Hillsborough Cty., Fla. v. Automated Med. Labs., Inc.
         471 U.S. 707 (1985) ............................................................................................ 15
  6
  7   In re Nat’l Security Agency Telecomms. Records Litig.
          633 F. Supp. 2d 892 (N.D. Cal. 2007)................................................................... 7
  8
      Johnson v. Riverside Healthcare Sys., LP
  9
         534 F.3d 1116 (9th Cir. 2008) ............................................................................... 7
 10
      Kansas v. Garcia
 11     No. 17-834, slip op. (U.S. 2020) ................................................................... 19, 21
 12
      Knox v. Brnovich
 13     907 F.3d 1167 (9th Cir. 2018) ............................................................................. 15
 14   Lazy Y Ranch Ltd. v. Behrens
 15      546 F.3d 580 (9th Cir. 2008) ................................................................................. 7
 16   Medtronic, Inc. v. Lohr
        518 U.S. 470 (1996) ................................................................................ 14, 15, 16
 17
 18   N. Star Int’l v. Ariz. Corp. Comm’n
         720 F.2d 578 (9th Cir. 1983) ................................................................................. 6
 19
      North Dakota v. United States
 20
        495 U.S. 423 (1990) ..................................................................................... passim
 21
      Public Utilities Comm’n. of Cal. v. United States
 22     355 U.S. 534 (1958) .............................................................................................. 8
 23
      Puente Arizona v. Arpaio
 24     821 F.3d 1098 (9th Cir. 2016) ............................................................................. 15
 25   Red Top Mercury Mines, Inc. v. United States
 26     887 F.2d 198 (9th Cir. 1989) ............................................................................... 14
 27   Student Loan Serving Alliance v. District of Columbia
 28      351 F. Supp. 3d 26 (D.D.C. 2016) ...................................................................... 20
                                                               iii
                        Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.806 Page 5 of 30



  1                                          TABLE OF AUTHORITIES
  2                                                (continued)
                                                                                                                            Page
  3   United States v. California
  4     921 F.3d 865 (9th Cir. 2019) ............................................................... 7, 10, 15, 16

  5   United States v. City of Arcata
        629 F.3d 986 (9th Cir. 2010) ............................................................................. 7, 8
  6
  7   United States v. City of Pittsburg, Cal.
        661 F.2d 783 (9th Cir. 1981) ............................................................................... 19
  8
      United States v. Nye Cnty.
  9
        178 F.3d 1080 (9th Cir. 1999) ............................................................................. 12
 10
      Virginia Uranium, Inc. v. Warren
 11      139 S. Ct. 1894 (2019) ........................................................................................ 16
 12
      Wyeth v. Levine
 13     555 U.S. 555 (2009) ...................................................................................... 14, 15
 14   STATUTES
 15
      United States Code, Title 8
 16     § 1103 ................................................................................................................ 4, 5
        § 1103(a) ................................................................................................................ 5
 17
        § 1103(a)(4) ........................................................................................................... 5
 18     § 1103(a)(6) ........................................................................................................... 5
        § 1103(a)(11) ................................................................................................. 16, 17
 19
        § 1103(a)(11)(B) .................................................................................................... 5
 20     § 1226 .................................................................................................................... 4
        § 1231 ................................................................................................................ 4, 5
 21
        § 1231(g)(1) .................................................................................................. passim
 22     § 1357(g)(1) ......................................................................................................... 17
 23     § 1357(g)(1) ........................................................................................................... 5
        § 1357(g)(3) ........................................................................................................... 5
 24
      United States Code, Title 18
 25     § 4013 .................................................................................................................... 6
 26     § 4013(a), (c)(1)................................................................................................... 20
        § 4013(c)(1) ..................................................................................................... 6, 18
 27     § 4013(c)(2) ........................................................................................................... 6
 28     § 4013(c)(2)(C) ................................................................................................ 6, 20
                                                                    iv
                         Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.807 Page 6 of 30



  1                                          TABLE OF AUTHORITIES
  2                                                (continued)
                                                                                                                             Page
  3   United States Code, Title 28
  4     § 530C.................................................................................................................. 20

  5   California Penal Code
         § 5003.1 ..................................................................................................... 3, 11, 13
  6
         § 5003.1(a) ............................................................................................................. 3
  7      § 5003.1(b)............................................................................................................. 3
         § 5003.1(c) ........................................................................................................... 14
  8
         § 5003.1(e) ................................................................................................. 3, 13, 14
  9      § 9500 .................................................................................................................... 3
         § 9500(a) .......................................................................................................... 3, 12
 10
         § 9500(b)................................................................................................................ 4
 11      § 9501 .......................................................................................................... 3, 8, 11
         §§ 9501-03 ............................................................................................................. 8
 12
         § 9502 .............................................................................................................. 4, 11
 13      § 9502(a) .............................................................................................................. 12
         § 9502 (a)-(g) ......................................................................................................... 4
 14
         § 9502(b).............................................................................................................. 12
 15      §§ 9502(c) ............................................................................................................ 11
         § 9502(d).............................................................................................................. 12
 16
         § 9502(e) .............................................................................................................. 12
 17      § 9502(f) .............................................................................................................. 12
         § 9502(g).............................................................................................................. 12
 18
         § 9503 .................................................................................................................... 4
 19      § 9505(a) ................................................................................................................ 4
 20      § 9505(b).............................................................................................................. 13
         § 9505, subsec. (b) ............................................................................................... 13
 21
      CONSTITUTIONAL PROVISIONS
 22
 23   United States Constitution
        Article VI, cl. 2 .................................................................................................... 21
 24
      COURT RULES
 25
 26   Federal Rules of Civil Procedure
         Rule 12(b)(6) ......................................................................................................... 8
 27
 28
                                                                    v
                          Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.808 Page 7 of 30



  1                                           TABLE OF AUTHORITIES
  2                                                 (continued)
                                                                                                                               Page
  3   OTHER AUTHORITIES
  4   8 C.F.R.
  5      § 2.1 ....................................................................................................................... 5
         § 287.1(g)............................................................................................................... 5
  6      § 287.5 ............................................................................................................. 5, 17
  7      § 287.5(c)(6) .................................................................................................... 5, 17
  8   136 Cong. Rec. S17595-01, S17596, 1990 WL 168469 (Oct. 27, 1990)............. 6, 20
  9
      AMERICAN CIVIL LIBERTIES UNION, BANKING ON BONDAGE: PRIVATE
 10     PRISONS AND MASS INCARCERATION (2011), available at
        https://www.aclu.org/banking-bondage-private-prisons-and-mass-
 11
        incarceration; ......................................................................................................... 2
 12
      Assembly Bill 32 2019-2020 Reg. Sess. (Cal. 2019) ................................................. 1
 13     § 1 .......................................................................................................................... 3
 14     § 2 .................................................................................................................... 3, 10
        § 3 .......................................................................................................................... 4
 15
      https://www.cdcr.ca.gov/research/population-reports-2/ ......................................... 13
 16
 17   KARA GOTSCH & VINAY BASTI, THE SENTENCING PROJECT,
        CAPITALIZING ON MASS INCARCERATION: US GROWTH IN PRIVATE
 18     PRISONS (2018), available at
 19     https://www.sentencingproject.org/publications/capitalizing-on-
        mass-incarceration-u-s-growth-in-private-prisons/ ............................................... 2
 20
      OFFICE OF THE INSPECTOR GENERAL, U.S. DEP’T OF JUSTICE, REVIEW
 21
        OF THE FEDERAL BUREAU OF PRISONS’ MONITORING OF CONTRACT
 22     PRISONS (2016), available at
 23     https://oig.justice.gov/reports/2016/e1606.pdf ...................................................... 2

 24   TARA JOY, JUSTICE POLICY INSTITUTE, THE PROBLEM WITH PRIVATE
        PRISONS (2018), available at
 25     http://www.justicepolicy.org/news/12006; ........................................................... 2
 26
 27
 28
                                                                     vi
                          Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.809 Page 8 of 30



  1                                       TABLE OF AUTHORITIES
  2                                             (continued)
                                                                                                                   Page
  3   U.S. DEP’T OF JUSTICE, OFFICE OF THE ATTORNEY GENERAL,
  4      MEMORANDUM FOR THE ACTING DIRECTOR, FEDERAL BUREAU OF
         PRISONS FROM JEFFERSON B. SESSIONS III RE: RESCISSION OF
  5      MEMORANDUM ON USE OF PRIVATE PRISONS (Feb. 21, 2017),
  6      available at https://www.justice.gov/oip/foia-
         library/attorney_general_memorandum_advising_the_federal_bure
  7      au_of_prisons_that_the_department_will_continue_to_use_private
  8      _prisons.pdf/download .......................................................................................... 2

  9   U.S. DEP’T OF JUSTICE, OFFICE OF THE ATTORNEY GENERAL,
         MEMORANDUM FOR THE ACTING DIRECTOR, FEDERAL BUREAU OF
 10
         PRISONS FROM SALLY Q. YATES RE: REDUCING OUR USE OF
 11      PRIVATE PRISONS (Aug. 18, 2016), available at
         https://www.justice.gov/OIP/FOIA-Library/davis/download ............................... 2
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                              vii
                        Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.810 Page 9 of 30



  1                MEMORANDUM OF POINTS AND AUTHORITIES
  2                                    INTRODUCTION
  3        The California Legislature determined in 2019, based on ample evidence, that
  4   private prisons and detention facilities pose an unacceptable danger to detainees in
  5   California. Pursuant to its sovereign police powers to protect the safety and well-
  6   being of all Californians, the Legislature therefore enacted Assembly Bill 32 (AB
  7   32) to generally prohibit private persons and entities from operating detention
  8   facilities in the state. Plaintiff The Geo Group filed this lawsuit, alleging that AB
  9   32 violates the Federal Constitution’s Supremacy Clause under principles of
 10   intergovernmental immunity and preemption.
 11        Even accepting as true the factual allegations of the complaint, Plaintiff cannot
 12   state a claim upon which relief can be granted. The doctrine of intergovernmental
 13   immunity does not apply because AB 32 is a law of neutral applicability that
 14   neither directly regulates the federal government nor discriminates against it.
 15   Plaintiff’s preemption allegations are equally unavailing. AB 32 does not regulate
 16   in a field that is exclusively the province of the federal government, and it does not
 17   conflict with any federal law. For these reasons, the Court should dismiss
 18   Plaintiff’s Complaint without leave to amend.
 19                                     BACKGROUND
 20   I.   AB 32
 21        AB 32 arose from the California Legislature’s concerns about serious,
 22   documented harms to the safety and welfare of those detained in private detention
 23   facilities. See Defs.’ Req. for Judicial Notice in Support of Opp’n to Mot. for
 24   Prelim. Inj. (RJN) 1 Ex. 1 at 4-5; RJN Ex. 2 at 2; RJN Ex. 3 at 1-2; RJN Ex. 4 at 1-9;
 25   RJN Ex. 5 at 6-8; RJN No. 6 at 4-5; see also Assem. Bill 32, 2019-2020 Reg. Sess.
 26   (Cal. 2019) (AB 32). The Legislature was not alone in these concerns, relying on a
 27         1
               Concurrently, Defendants are filing a request for judicial notice in support
      of their opposition to the United States’ motion for preliminary injunction.
 28   Defendants rely on the same request for judicial notice here.
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                   Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.811 Page 10 of 30



  1   number of reports and studies including a report by the U.S. Department of Justice
  2   Office of the Inspector General finding that federal private prisons are unsafe, lack
  3   transparency and accountability, create unfair and exploitive conditions for
  4   detainees, and prioritize profits over inmate rehabilitation and wellbeing. See, e.g.,
  5   RJN Ex. 1 at 4; RJN Ex. 4 at 7-8. 2 In addition, the Legislature was aware that as
  6   recently as 2016, the U.S. Department of Justice (DOJ) announced a plan to end its
  7   use of private prisons, citing safety and security in the facilities as major reasons.3
  8   That decision was later reversed after a change in federal administration, although
  9   that change of course came with no explanation regarding the previously asserted
 10   safety and security concerns.4
 11        When first introduced in the Legislature in 2018, AB 32 applied only to the
 12   California Department of Corrections and Rehabilitation (CDCR), prohibiting
 13   CDCR from contracting with any private, for-profit prison facility to house state
 14   prisoners. RJN Ex. 1 at 1-4. As it evolved, the bill was amended to more broadly
 15         2
              See also OFFICE OF THE INSPECTOR GENERAL, U.S. DEP’T OF JUSTICE,
      REVIEW OF THE FEDERAL BUREAU OF PRISONS’ MONITORING OF CONTRACT
 16   PRISONS (2016), available at https://oig.justice.gov/reports/2016/e1606.pdf, at 14
      (“Contract Prisons Had More Frequent Incidents per Capita of Contraband Finds,
 17   Assaults, Uses of Force, Lockdowns, Guilty Findings on Inmate Discipline
      Charges, and Selected Categories of Grievances”); TARA JOY, JUSTICE POLICY
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      http://www.justicepolicy.org/news/12006; AMERICAN CIVIL LIBERTIES UNION,
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      available at https://www.aclu.org/banking-bondage-private-prisons-and-mass-
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      CAPITALIZING ON MASS INCARCERATION: US GROWTH IN PRIVATE PRISONS (2018),
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      incarceration-u-s-growth-in-private-prisons/.
 22
            3
             U.S. DEP’T OF JUSTICE, OFFICE OF THE ATTORNEY GENERAL, MEMORANDUM
 23   FOR THE ACTING DIRECTOR, FEDERAL BUREAU OF PRISONS FROM SALLY Q. YATES
      RE: REDUCING OUR USE OF PRIVATE PRISONS (Aug. 18, 2016), available at
 24   https://www.justice.gov/OIP/FOIA-Library/davis/download.
 25         4
             U.S. DEP’T OF JUSTICE, OFFICE OF THE ATTORNEY GENERAL, MEMORANDUM
      FOR THE ACTING DIRECTOR, FEDERAL BUREAU OF PRISONS FROM JEFFERSON B.
 26   SESSIONS III RE: RESCISSION OF MEMORANDUM ON USE OF PRIVATE PRISONS (Feb.
      21, 2017), available at https://www.justice.gov/oip/foia-
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 28
                                                 2
                   Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.812 Page 11 of 30



  1   prohibit anyone from operating a private detention facility in California. RJN Ex. 4
  2   at 1, 4. As enacted in 2019, AB 32 encompasses any detention facility operated by
  3   a private, nongovernmental, for-profit entity, and operating pursuant to a contract or
  4   agreement with any local, state, or federal governmental entity. See AB 32, §§ 1, 2.
  5   Among others, these facilities include prisons and immigration detention facilities.
  6   See RJN Ex. 6 at 4-5; Cal. Pen Code § 9500.
  7        AB 32 consists of three sections. Section 1 regulates the California
  8   Department of Corrections and Rehabilitation. AB 32 § 1. Specifically, as of
  9   January 1, 2020, Penal Code section 5003.1 prohibits the department from entering
 10   or renewing any “contract with a private, for-profit prison facility located in or
 11   outside of the state to provide housing for state prison inmates.” Cal. Penal Code §
 12   5003.1 (a), (b). Subdivision (e) of section 5003.1 provides that the department
 13   may, however, “renew or extend a contract with a private, for-profit prison facility
 14   to provide housing for state prison inmates in order to comply with the
 15   requirements of any court-ordered population cap.”5
 16        Section 2 of AB 32 consists of a handful of statutes that regulate anyone
 17   seeking to operate a private detention facility in California. AB 32 § 2. Most
 18   notably, California Penal Code section 9501 states, “Except as otherwise provided
 19   in this title, a person shall not operate a private detention facility within the state.”
 20   A “detention facility” is defined as “any facility in which persons are incarcerated
 21   or otherwise involuntarily confined for purposes of execution of a punitive sentence
 22   imposed by a court or detention pending a trial, hearing, or other judicial or
 23   administrative proceeding.” Cal. Penal Code § 9500(a). A “private detention
 24   facility” is defined as “a detention facility that is operated by a private,
 25
 26         5
              Although it is not directly relevant to the pending motions, subdivision (e)
      of section 5003.1 further provides that “[a]fter January 1, 2028, a state prison
 27   inmate or other person under the jurisdiction of the department shall not be
      incarcerated in a private, for-profit prison facility.”
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                    Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.813 Page 12 of 30



  1   nongovernmental, for-profit entity, and operating pursuant to a contract or
  2   agreement with a governmental entity.” Cal. Penal Code § 9500(b).
  3         Section 9502 sets forth certain exceptions to the prohibition of private
  4   detention facilities, identifying seven types of facilities to which AB 32 does not
  5   apply. Cal. Penal Code § 9502. These include, for example, certain facilities
  6   providing primarily medical, educational, and juvenile care services. Id. § 9502
  7   (a)-(g).
  8         Finally, AB 32 does not apply to any privately owned property that is leased
  9   and operated by CDCR or a county sheriff or other law enforcement agency. Cal.
 10   Penal Code § 9503. Nor does it apply to persons operating detention facilities
 11   pursuant to contracts entered prior to January 1, 2020, not including “any
 12   extensions made to or authorized by that contract.” Id. § 9505(a).
 13         Section 3 of AB 32 provides that the act’s provisions are severable and that if
 14   any provision of the act is held invalid, that shall not invalidate any other provision
 15   that can still be given effect. AB 32, § 3.
 16   II.   RELEVANT FEDERAL IMMIGRATION DETENTION STATUTES
 17         The Immigration and Nationality Act (INA) in Title 8 of the United States
 18   Code is the primary law governing immigration and related matters. Aside from its
 19   general delegation of authority to detain immigrants (see 8 U.S.C. §§ 1226, 1231),
 20   the INA contains few provisions related to the actual operation of immigration
 21   detention facilities, i.e., how immigrants are housed. These include sections 1231
 22   and 1103 of Title 8.
 23         Section 1231 governs when the federal government may construct and operate
 24   new detention facilities, providing “[w]hen United States Government facilities are
 25   unavailable or facilities adapted or suitably located for detention are unavailable for
 26   rental, the Attorney General may expend … amounts necessary to acquire land and
 27   to acquire, build, remodel, repair, and operate facilities … necessary for detention.”
 28   8 U.S.C. § 1231(g)(1).
                                                    4
                    Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.814 Page 13 of 30



  1        Section 1103 authorizes the federal government “to enter into a cooperative
  2   agreement with any State” for construction related to housing immigration
  3   detainees in state facilities. Id. § 1103(a)(11)(B).
  4        Neither section 1231, 1103, nor any other provision in the INA contemplates
  5   immigration detention facilities operated by private companies.
  6        The INA does include provisions governing who may perform immigration-
  7   related duties. Generally, the INA authorizes the Secretary of the Department of
  8   Homeland Security (DHS) to delegate Title 8 powers to any employee of DHS or
  9   other federal agency with the consent of the agency head. 8 U.S.C. § 1103(a)(4),
 10   (6); 8 C.F.R. § 2.1. It does not authorize the Secretary to delegate Title 8 duties to
 11   private citizens. See 8 U.S.C. § 1103(a). In addition, the regulations promulgated
 12   under the INA specifically designate particular federal employees to perform
 13   specified immigration functions, including detention. 8 C.F.R. § 287.5; id. §
 14   287.5(c)(6). Those employees must complete specialized training. 8 C.F.R. §
 15   287.5; see also 8 C.F.R. § 287.1(g) (defining mandatory training). The only
 16   exception to these requirements is the delegation of certain immigration-
 17   enforcement duties to state officials pursuant to an agreement, and even then only
 18   “to the extent consistent with State and local law,” and under the U.S. Attorney
 19   General’s “direction and supervision.” 8 U.S.C. § 1357(g)(1), (3); see also Arizona
 20   v. United States, 567 U.S. 387, 408-09 (2012) (“Federal law specifies limited
 21   circumstances in which state officers may perform the functions of an immigration
 22   officer”). There is no similar exception permitting private persons to act as
 23   immigration officials.
 24   III. RELEVANT FEDERAL LAW RELATED                 TO   U.S. MARSHAL SERVICE
           DETENTION FACILITIES
 25
           Federal laws relating to the detention of federal prisoners are primarily set
 26
      forth in Title 18 of the United States Code.
 27
 28
                                                 5
                   Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.815 Page 14 of 30



  1        Title 18 authorizes the U.S. Marshal Service (USMS) to contract with private
  2   detention facility operators only by “designat[ing] districts that need additional
  3   support from private detention entities….” 18 U.S.C. § 4013(c)(1). Congress has
  4   enumerated several express restrictions on these contractors. Id. § 4013(c)(2).
  5   Among other things, the contractors must “comply with all applicable State and
  6   local laws and regulations.” Id. § 4013(c)(2)(C). As explained by the author of the
  7   relevant bill amending section 4013, that provision “permit[s] the Marshals Service
  8   to enter into contracts only with private jails that meet strict standards designed to
  9   protect public safety.” 136 Cong. Rec. S17595-01, S17596, 1990 WL 168469 (Oct.
 10   27, 1990) (statement of Sen. Kohl).
 11   IV. PLAINTIFF’S COMPLAINT
 12        Plaintiff filed its complaint on December 30, 2019. See ECF No. 1.
 13   According to its complaint, Plaintiff currently contracts with the federal
 14   government as a private operator of detention facilities which house immigration
 15   detainees and USMS prisoners within California. See Compl., at 12-14 (USMS),
 16   19-22 (Immigration and Customs Enforcement Agency (ICE)). Plaintiff alleges
 17   that by prohibiting private companies from operating detention facilities on behalf
 18   of any governmental entity, AB 32 violates the intergovernmental immunity aspect
 19   of the Supremacy Clause. See Compl., at 25-26. Plaintiff also alleges that AB 32 is
 20   preempted by federal law. See Compl., at 26-28.
 21                 LEGAL STANDARD FOR MOTION TO DISMISS
 22        A motion to dismiss under Rule 12(b)(6) tests the legal sufficiency of the
 23   complaint. N. Star Int’l v. Ariz. Corp. Comm’n, 720 F.2d 578, 581 (9th Cir. 1983).
 24   To survive a motion to dismiss, a complaint must contain sufficient facts to state a
 25   claim for relief that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678
 26   (2009).
 27        “A Rule 12(b)(6) dismissal may be based on either a lack of a cognizable legal
 28   theory or the absence of sufficient facts alleged under a cognizable legal theory.”
                                                 6
                   Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.816 Page 15 of 30



  1   Johnson v. Riverside Healthcare Sys., LP, 534 F.3d 1116, 1121 (9th Cir. 2008)
  2   (internal quotation omitted). The court accepts as true all material allegations in the
  3   complaint and construes them in the light most favorable to the plaintiff. Lazy Y
  4   Ranch Ltd. v. Behrens, 546 F.3d 580, 588 (9th Cir. 2008).
  5                                       ARGUMENT
  6   I.   AB 32 DOES NOT VIOLATE GOVERNMENTAL IMMUNITY PRINCIPLES
  7        Under the Supremacy Clause, a state may not “regulate[] the United States
  8   directly or discriminate[] against the Federal Government or those with whom it
  9   deals.” North Dakota v. United States, 495 U.S. 423, 435 (1990) (plurality
 10   opinion). While the Supreme Court, at one time, invalidated a state regulation that
 11   made “it more costly for the Government to do its business,” the Court has since
 12   recognized that this “view has been thoroughly repudiated.” Id. at 434. Instead, the
 13   Court’s “modern-day treatment of the intergovernmental immunity doctrine has
 14   been marked by restraint[.]” In re Nat’l Security Agency Telecomms. Records
 15   Litig., 633 F. Supp. 2d 892, 903 (N.D. Cal. 2007). The Court has taken “a
 16   functional approach to claims of intergovernmental immunity, accommodating of
 17   the full range of each sovereign’s legislative authority and respectful of the primary
 18   role of Congress in resolving conflicts between the National and State
 19   Governments.” North Dakota, 495 U.S. at 435. For this reason, the notable
 20   majority of modern cases have involved claims alleging impermissible targeting of
 21   and discrimination against the federal government. See, e.g., United States v.
 22   California, 921 F.3d 865, 882-85 (9th Cir. 2019) (petition for cert. filed) (state law
 23   alleged to impose more burdensome inspection requirements on facilities housing
 24   immigration detainees than facilities housing state prisoners); Boeing Co. v.
 25   Movassaghi, 768 F.3d 832, 839-43 (9th Cir. 2014) (state law imposing stricter
 26   cleanup standards on a single federal facility than on similar state facilities); United
 27   States v. City of Arcata, 629 F.3d 986, 991-92 (9th Cir. 2010) (local ordinance
 28   restricting speech of federal employees, and no one else). In any event, as
                                                 7
                   Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.817 Page 16 of 30



  1   explained below, AB 32 neither directly regulates nor discriminates against the
  2   federal government.
  3        A.   AB 32 Does Not Directly Regulate the Federal Government
  4        AB 32 does not directly regulate the federal government. It is a law of neutral
  5   application that applies to private actors. In the interest of protecting the health and
  6   safety of the public, AB 32 regulates any “person” within the State of California by
  7   forbidding them from operating private detention facilities. See Cal. Penal Code §
  8   9501 (“[a] person shall not operate a private detention facility within the state”
  9   (emphasis added)). This does not amount to a direct regulation of the federal
 10   government. Rather, it is a regulation of private persons in California, such as its
 11   citizens and residents, and those persons doing business here.
 12        While AB 32 may tangentially affect the federal government—to the extent
 13   the federal government might want to arrange for the private operation of certain
 14   detention facilities—such an incidental impact is not a direct regulation of the
 15   federal government. Under AB 32, the federal government retains the ability itself
 16   to operate any detention facility in California. Cf. United States v. Arcata, 629 F.3d
 17   986 (9th Cir. 2010) (ordinance targeting military recruiters). And AB 32 allows
 18   federal officers to operate such detention facilities as they see fit, in accordance
 19   with applicable federal laws, whether on federal land or private land.6 See Cal.
 20   Penal Code §§ 9501-03.
 21        The doctrine of intergovernmental immunity does not insulate the federal
 22   government or those it seeks to do business with from any impact whatsoever from
 23   a state regulation of neutral applicability. See North Dakota, 495 U.S. at 435
 24   (plurality) (“Whatever burdens are imposed on the Federal Government by a neutral
 25         6
              Though Plaintiff emphasizes a line of cases involving the direct regulation
      of federal property, see Pl. Br. at 22 (citing e.g. Goodyear Atomic Corp. v. Miller,
 26   486 U.S. 174 (1988), Public Utilities Comm’n. of Cal. v. United States, 355 U.S.
      534 (1958)), this line of cases is of limited applicability here because nearly all of
 27   the detention facilities operated by Plaintiff are privately or locally owned. See
      Decl. of Amber Martin, ECF No. 15-3, ¶¶ 5, 13, 16, 22, 27, 33, 38.
 28
                                                 8
                   Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.818 Page 17 of 30



  1   state law regulating its suppliers are but the normal incidents of the organization
  2   within the same territory of two governments.”); id. at 434 (rejecting view that any
  3   regulation that made “it more costly for the Government to do its business” was
  4   unconstitutional). AB 32 does not directly regulate the federal government.
  5        Boeing illustrates how AB 32 is not a direct regulation of the federal
  6   government. See Boeing Co. v. Movassaghi, 768 F.3d 832 (9th Cir. 2014). Shortly
  7   after World War II, the federal government began nuclear testing at Santa Susana
  8   Field Laboratory in Southern California, causing radioactive contamination. Id. at
  9   834-35. In 2007, the State of California enacted SB 990, which required the
 10   “responsible party” to perform environmental cleanup at Santa Susana according to
 11   more stringent standards than those generally applicable within the state. 7 Id. at
 12   837. The Ninth Circuit held that the federal government (specifically, the U.S.
 13   Department of Energy), was the “responsible party” under SB 990, not contractor
 14   Boeing. Id. at 839. In other words, the law required the Department of Energy to
 15   clean up the site under stricter standards. Because SB 990 specifically obligated the
 16   federal government to act, the law impermissibly directly regulated the federal
 17   government. See id. Those obligations existed regardless of whether the federal
 18   government chose to outsource the work to a contractor and regardless of any
 19   contract terms that were inconsistent with the cleanup standards of SB 990.
 20        Therefore, in Boeing, there was no question that the relevant state law directly
 21   regulated the federal government. In contrast here, AB 32 does not directly
 22   regulate or obligate the United States in any way because it does not forbid it from
 23   operating detention facilities in the state.
 24
 25
            7
              The Ninth Circuit recognized that rather than setting a neutral rule
 26   applicable throughout the State, the law mandated “more stringent cleanup
      procedures, not generally applicable within the state, to a particular site [Santa
 27   Susana],” and only to that site. Id. at 836. This illustrates how the issue of
      “discrimination” often features prominently in any governmental immunity
 28   analysis, even in the context of a “direct regulation” claim. See also id. at 839.
                                                     9
                    Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.819 Page 18 of 30



  1        Finally, to the extent Plaintiff suggests that AB 32 is a direct regulation of the
  2   federal government because of the number of private facilities that would allegedly
  3   be forced close that argument must be rejected. See Pl. Mem. in Support of Mot.
  4   for Prelim. Inj. [ECF No. 15] (Pl. MPI Br.) at 25. Again, under North Dakota, a
  5   burden on the federal government that arises from a state law of neutral application
  6   does not violate intergovernmental immunity. North Dakota, 495 U.S. at 435.
  7   Rather, the issue of an alleged burden is properly analyzed within the framework of
  8   conflict or obstacle preemption. Defendants therefore address that issue below.
  9   See Argument section II, infra.
 10        B.   AB 32 Does Not Discriminate Against the Federal Government
 11             1.     AB 32 Does Not Treat Private Companies That Contract
                       With the Federal Government Worse Than Private
 12                    Companies That Contract With State or Local Governments
 13        AB 32 also does not discriminate against the “Federal Government or those
 14   with whom it deals.” North Dakota, 495 U.S. at 437 (plurality).
 15        “[A] state does not discriminate against the Federal Government and those
 16   with whom it deals unless it treats someone else better than it treats them.”
 17   California, 921 F.3d at 881 (internal citation omitted). The Supreme Court “has
 18   required that the regulation be one that is imposed on some basis unrelated to the
 19   object’s status as a Government contractor or supplier, that is, that it be imposed
 20   equally on other similarly situated constituents of the State.” North Dakota, 495
 21   U.S. at 438; see Boeing, 768 F.3d at 843; California, 921 F.3d at 882.
 22        For example, in Boeing, the court determined that SB 990 discriminated
 23   against the United States and its contractor because it “applie[d] more stringent
 24   cleanup standards [to the Santa Susana site] than generally applicable state
 25   environmental laws.” Boeing, 768 F.3d at 843. And in California, the court
 26   recognized that a state law might be discriminatory if it applied more stringent
 27   inspection requirements to facilities housing immigration detainees than to similar
 28   facilities housing state criminal detainees. California, 921 F.3d at 882.
                                                 10
                     Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.820 Page 19 of 30



  1        AB 32 does not treat private companies that contract with the federal
  2   government worse than private companies that contract with state or local
  3   governments. AB 32 prohibits anyone from operating a private detention facility in
  4   California. Cal. Penal Code § 9501. This even-handed prohibition is not
  5   discriminatory against either federal contractors or the federal government itself. In
  6   fact, AB 32 imposes direct restrictions on CDCR that it does not impose on the
  7   federal or local governments. Cal. Pen. Code § 5003.1.
  8        Nor does AB 32 single out federal contractors based solely on their “status as
  9   a Government contractor or supplier.” North Dakota, 495 U.S. at 438. Unlike in
 10   Boeing, where the State targeted the Department of Energy with uniquely
 11   burdensome regulation (thereby uniquely impacting Boeing as DOE’s contractor
 12   for the cleanup), see Boeing, 768 F.3d at 837, AB 32 does not impose more
 13   stringent requirements on federal contractors than are imposed on similarly situated
 14   state contractors. AB 32 prohibits anyone from operating a private detention center
 15   for any governmental entity. Such private prison contractors are being regulated
 16   because of their status as operators of private prisons in general, not because of
 17   their status as private prison operators for the federal government in particular.
 18             2.     AB 32’s Exceptions are Not Discriminatory
 19        Plaintiff contends that AB 32’s statutory exceptions render it discriminatory.
 20   See Compl. at 26. This is incorrect.
 21        Several of AB 32’s exceptions, on their face, are equally available to federal,
 22   state, and local government contractors. See Cal. Penal Code §§ 9502(c)
 23   (“educational, vocational, medical, or other ancillary services” to federal, state, or
 24   local inmates), 9503 (privately owned or leased facilities operated by a government
 25   agency), 9505(a) (existing contracts).
 26        Plaintiff takes issue with certain exceptions in California Penal Code section
 27   9502 to AB 32’s general prohibition of private detention facilities, arguing that
 28   these exceptions describe only state detention activities. Compl., ¶ 121. Even
                                                 11
                     Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.821 Page 20 of 30



  1   assuming that is true, however, such a situation does not amount to discrimination
  2   resulting from AB 32. It simply reflects the reality that “there are no federal
  3   contractors analogous to the state contractors who benefit from” these exceptions.
  4   United States v. Nye Cnty., 178 F.3d 1080, 1088 (9th Cir. 1999) (tax exemption for
  5   state universities held not discriminatory where no federally-run universities existed
  6   in the state). In other words, the state and federal governments themselves are not
  7   “similarly situated” to the extent the State of California happens to provide
  8   additional services that do not implicate the same health and safety concerns
  9   addressed in AB 32. Dawson v. Steager, 139 S. Ct. 698, 705 (2019).
 10        AB 32 regulates private “detention facilit[ies]” “in which persons are
 11   incarcerated or otherwise involuntarily confined for purposes of execution of a
 12   punitive sentence imposed by a court or detention pending a trial, hearing, or other
 13   judicial or administrative proceeding.” Cal. Penal Code § 9500(a). Private prisons
 14   and immigration detention facilities, “in which persons are incarcerated or
 15   otherwise involuntarily confined” for criminal or administrative proceedings, are
 16   quite different than the facilities covered by the exceptions about which Plaintiff
 17   complains: private children’s schools (Cal. Penal Code § 9502(e)), other non-
 18   punitive environments for children (Cal. Penal Code § 9502(a)), grocery stores
 19   (Cal. Penal Code § 9502(g)), nursing homes (Cal. Penal Code § 9502(d)), places for
 20   the mentally ill (Cal. Penal Code § 9502(b)), and medical quarantine facilities (Cal.
 21   Penal Code § 9502(f)). Any disparate treatment between contractors operating
 22   these facilities and private prison and detention center operators is justified by the
 23   significant differences between the types of private contractors and facilities. See
 24   Davis v. Michigan Dep’t of Treasury, 489 U.S. 803, 815-16 (1989) (describing how
 25   disparate treatment between “those who deal with one sovereign” and “those who
 26   deal with the other” may be justified if there are “significant differences between
 27   the two classes”) (alterations and internal quotation marks omitted). AB 32 permits
 28
                                                 12
                   Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.822 Page 21 of 30



  1   private contractors to provide services to federal, state, or local governments on
  2   equal terms.
  3        Finally, Plaintiff suggests that the exception in California Penal Code section
  4   9505, subsection (b) (and reflected in section 5003.1), makes AB 32 discriminatory.
  5   Compl., ¶ 122. This subsection permits the State of California to “renew[]” a
  6   contract with a private detention facility “pursuant to subdivision (e) of Section
  7   5003.1,” which in turn provides that CDCR “may renew or extend a contract with a
  8   private, for-profit prison facility to provide housing for state prison inmates in order
  9   to comply with the requirements of any court-ordered population cap,” Cal. Penal
 10   Code § 5003.1(e).
 11        Subsection (b) does not create an exception generally related to overcrowding
 12   in California’s prisons; it accommodates compliance with a particular court order
 13   currently in place. A federal three-judge court has been supervising California’s
 14   prison system for years. See generally Brown v. Plata, 563 U.S. 493 (2011). One
 15   remedy ordered by the three-judge court was a population cap of 137.5% of design
 16   capacity. Id. at 539. Complying with the court order is an ongoing obligation of
 17   California’s Department of Corrections and Rehabilitation.8
 18        Neither the federal government nor local governments are subject to similar
 19   litigation. Accordingly, the federal court’s overcrowding order is a constraint that
 20   makes California differently situated to the federal government or local
 21   governments. See Davis, (supra.) 489 U.S. at 815-16. Rather than being
 22   discriminatory, this provision simply recognizes the reality that AB 32 must yield
 23   to the orders of a federal court that is actively overseeing the population size of
 24   California’s prisons.
 25        Moreover, this exception’s scope is limited. First, the exception applies only
 26   to contract “renew[als],” and is therefore limited in time. Cal. Penal Code
 27   § 9505(b). Second, the exception is available only to the extent necessary to meet
 28         8
                See generally https://www.cdcr.ca.gov/research/population-reports-2/.
                                                 13
                     Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.823 Page 22 of 30



  1   the court-ordered population cap, id. § 5003.1(e), and even then only until January
  2   1, 2028, id. § 5003.1(c). California is making all efforts to comply with the
  3   population order, and it must be presumed that California will continue to do so in
  4   good faith. See Red Top Mercury Mines, Inc. v. United States, 887 F.2d 198, 202-
  5   03 (9th Cir. 1989) (“There is a presumption of regularity in the performance of their
  6   duties by government officials”). The provision in AB 32 is a temporary bridge
  7   that enables California to comply with an existing federal court order while it
  8   transitions its inmate population away from private operators, not a permanent,
  9   discriminatory loophole for California.
 10         For all of these reasons, AB 32 does not violate intergovernmental immunity.
 11   II.   AB 32 IS NOT PREEMPTED BY FEDERAL LAW
 12         “Federal preemption occurs when: (1) Congress enacts a statute that explicitly
 13   pre-empts state law; (2) state law actually conflicts with federal law; or (3) federal
 14   law occupies a legislative field to such an extent that it is reasonable to conclude
 15   that Congress left no room for state regulation in that field.” CTIA - The Wireless
 16   Ass'n v. City of Berkeley, Cal., 928 F.3d 832, 849 (9th Cir. 2019). The second
 17   category is often referred to as conflict (or obstacle) preemption. Plaintiff alleges
 18   this form of preemption. See Compl. at 26-28.
 19         Any preemption inquiry is “guided by two cornerstones.” Wyeth v. Levine,
 20   555 U.S. 555, 565 (2009). “First, the purpose of Congress is the ultimate
 21   touchstone in every pre-emption case.” Id. (quoting Medtronic, Inc. v. Lohr, 518
 22   U.S. 470, 485 (1996). “Congress’ intent, of course, primarily is discerned from the
 23   language of the pre-emption statute and the ‘statutory framework’ surrounding it.”
 24   Medtronic, 518 U.S. at 486 (quoting Gade v. National Solid Wastes Management
 25   Ass’n, 505 U.S. 88, 111, 112 (1992) (Kennedy, J., concurring in part and
 26   concurring in judgment)).
 27         Second, there is an assumption that the historic police powers of the state have
 28   not been superseded unless that was the “clear and manifest purpose of Congress.”
                                                14
                    Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.824 Page 23 of 30



  1   Wyeth, 555 U.S. at 565; see also Knox v. Brnovich, 907 F.3d 1167, 1173-74 (9th
  2   Cir. 2018). Thus, “[s]ilence, without more, does not preempt.” Chinatown
  3   Neighborhood Ass’n v. Harris, 794 F.3d 1136, 1143 (9th Cir. 2015).
  4        California possesses the historic police power “to ensure the health and
  5   welfare of inmates and detainees in facilities within its borders.” See California,
  6   921 F.3d at 885-86; Medtronic, 518 U.S. at 475 (“States traditionally have had
  7   great latitude under their police powers to legislate as to the protection of the lives,
  8   limbs, health, comfort, and quiet of all persons” (internal quotation marks
  9   omitted)); Hillsborough Cty., Fla. v. Automated Med. Labs., Inc., 471 U.S. 707, 719
 10   (1985) (“[T]he regulation of health and safety matters is primarily, and historically,
 11   a matter of local concern”); see also Puente Arizona v. Arpaio, 821 F.3d 1098, 1104
 12   (9th Cir. 2016) (“[W]hile the identity theft laws certainly have effects in the area of
 13   immigration, the text of the laws regulate for the health and safety of the people of
 14   Arizona”).
 15        Through AB 32, the California Legislature exercised its historic police power
 16   to protect the health and safety of detainees within the state. Based on the evidence
 17   before it, the Legislature determined that privately-operated detention facilities pose
 18   an unacceptable danger to the detainees, and the Legislature therefore barred
 19   anyone from operating such facilities. Thus, Plaintiff would have to show that it
 20   was Congress’s “clear and manifest purpose” to preempt AB 32. As explained
 21   below, because Plaintiff cannot show this, conflict preemption does not apply to
 22   AB 32.
 23             1.     Congress Did Not Clearly and Manifestly Intend to Preempt
                       AB 32 Through Federal Immigration Law
 24
 25        “Conflict preemption arises either when compliance with both federal and
 26   state regulations is a physical impossibility . . . or when state law stands as an
 27   obstacle to the accomplishment and execution of the full purposes and objectives of
 28   Congress.” CTIA, 928 F.3d at 849 (internal quotation omitted); see also California,
                                                 15
                     Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.825 Page 24 of 30



  1   921 F.3d at 879 (“To determine whether obstacle preemption exists, the Supreme
  2   Court has instructed that we employ our judgment, to be informed by examining the
  3   federal statute as a whole and identifying its purpose and intended effects” (internal
  4   quotation omitted)).
  5        The conflict preemption analysis “does not justify a freewheeling judicial
  6   inquiry into whether a state statute is in tension with federal objectives; such an
  7   endeavor would undercut the principle that it is Congress rather than the courts that
  8   preempts state law.” Chamber of Commerce of U.S. v. Whiting, 563 U.S. 582, 607
  9   (2011) (plurality opinion) (internal quotation omitted); accord United States v. Cal.,
 10   921 F.3d at 879. “[E]vidence of pre-emptive purpose, whether express or implied,
 11   must therefore be sought in the text and structure of the statute at issue.” Virginia
 12   Uranium, Inc. v. Warren, 139 S. Ct. 1894, 1907 (2019).
 13        Federal immigration law does not conflict preempt AB 32, because there is no
 14   “clear and manifest” intent to do so. First, it is possible to comply with both federal
 15   immigration law and AB 32; federal immigration law does not compel private
 16   companies to operate immigration detention facilities.
 17        Second, AB 32 poses no obstacle to federal immigration law because
 18   Congress did not clearly and manifestly intend for immigration detention facilities
 19   to be operated by private companies.
 20        Plaintiff alleges that 8 U.S.C. section 1231(g)(1) purportedly conflict preempts
 21   AB 32. Compl. at 27. That statute and the “statutory framework surrounding it,”
 22   Medtronic, 518 U.S. at 486, evince no clear and manifest Congressional intent for
 23   the federal government to utilize private immigration detention facilities. Rather,
 24   section 1231(g)(1), together with 8 U.S.C. section 1103(a)(11), sets forth a different
 25   scheme to address the limited capacity of existing immigration detention centers.
 26   The federal government must use available existing facilities,
 27
 28
                                                16
                   Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.826 Page 25 of 30



  1   8 U.S.C. § 1231(g)(1), rent out and operate other facilities,9 id., construct new
  2   facilities, id., or enter into an agreement with states to operate facilities, id.
  3   § 1103(a)(11). Congress therefore contemplated that only the federal government
  4   and states would operate these facilities.10 Plaintiff has not pointed to any other
  5   statutes or promulgated regulations that diverge from or supplement these
  6   instructions. Thus, in section 1231(g)(1), Congress has expressed not only a
  7   general intent for the federal government to house immigration detainees, but a
  8   specific intent on how federal agencies should do so. AB 32 poses no obstacle to
  9   that specific intent, which is the dispositive issue for purposes of conflict
 10   preemption.
 11        The legal limitations on who may act as an immigration detention officer
 12   confirm the lack of clear and manifest Congressional intent to utilize private
 13   immigration detention facilities. The functions of immigration detention officers
 14   may be performed only by federal and state employees who have received
 15   specialized training and are under the direction and supervision of the U.S.
 16   Attorney General. 8 C.F.R. § 287.5; 8 C.F.R. § 287.5(c)(6); see also Arizona v.
 17   United States, 567 U.S. 387, 408-09 (2012). Even then, state officers may act as
 18   immigration detention officers only pursuant to a written agreement and “to the
 19   extent consistent with State and local law.” 8 U.S.C. § 1357(g)(1). There is no
 20   similar exception permitting private persons to act as immigration detention
 21   officials.
 22          9
               Section 1231(g)’s provisions requiring the federal government to “rent[]” or
      “lease” a facility rather than construct one does not authorize the government to
 23   contract for a privately-operated detention facility. Rather, section 1231(g) is
      concerned with inadequate bed space, and the references to “rent[]” and “lease”
 24   refer to the federal government leasing a facility from another entity and the federal
      government operating that facility itself.
 25
             10
                Congress’s provision for the states to operate some immigration detention
 26   facilities (and omission of operational details) actually suggests that Congress
      expected state health and safety regulations to apply to those facilities. This further
 27   undercuts the argument that a state’s health and safety regulation of detention
      facilities clearly and manifestly conflicts with Congressional intent here.
 28
                                                  17
                    Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.827 Page 26 of 30



  1        In support of its pending motion for preliminary injunction, Plaintiff has cited
  2   a number of cases in an attempt to demonstrate Congressional intent for federal
  3   agencies to utilize private immigration detention facilities. See Pl. MPI Br. at 31-
  4   33. None of these cases support Plaintiff’s preemption arguments.
  5        In particular, Committee of Central American Refugees did not involve any
  6   claim or analysis of preemption. Comm. of Cent. Am. Refugees v. INS, 795 F.2d
  7   1434, 1435 (9th Cir. 1986). In that case, immigration detainees alleged that their
  8   transfer from one detention facility to another violated due process. Id. The Ninth
  9   Circuit merely ruled that the detainees had failed to show that their transfer violated
 10   due process. Id. at 1440-41.
 11        Plaintiff also cites Crosby v. National Foreign Trade Council, 530 U.S. 363,
 12   368-70 (2000). See Pl. MPI Br. at 31. There, Congress had enacted detailed
 13   provisions giving the President authority to impose and remove economic sanctions
 14   against Burma. 11 The Court found that the federal law conflict preempted
 15   a separate trade ban related to Burma imposed by Massachusetts, reasoning that
 16   Congress had clearly intended for the President to have exclusive authority to
 17   impose a “calibrated” scheme of economic pressure on Burma. Crosby, 530 U.S. at
 18   376-78. Here, in contrast to the situation in Crosby, section 1231 provides
 19   instructions on how the U.S. Attorney General is to “arrange” for immigration
 20   detention facilities. 8 U.S.C § 1231(g)(1). Those instructions simply do not
 21   contemplate immigration detention facilities operated by private companies. And
 22   nothing about those instructions reveal a clear and manifest Congressional intent for
 23   those immigration detention facilities to be exempt from state or local regulatory
 24   constraints. Compare 8 U.S.C § 1231(g)(1) (listing options for detention facilities
 25   that do not include privately-operated facilities) with 18 U.S.C. § 4013(c)(1)
 26   (expressly allowing certain USMS detention facilities to be operated by private
 27
            11
             This brief uses the name Burma rather than Myanmar, because that is the
 28   name used by the Supreme Court in its opinion. See Crosby, 530 U.S. at 366, n. 1.
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                   Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.828 Page 27 of 30



  1   contractors, subject to state regulation). Unlike the circumstances in Crosby, AB
  2   32 does not undermine any “plenitude of Executive authority.” Crosby, 530 U.S. at
  3   376.
  4          The Ninth Circuit’s decision in Pittsburg is also inapplicable because that case
  5   involved a “clear” and direct conflict between federal and state laws. See United
  6   States v. City of Pittsburg, Cal., 661 F.2d 783, 785 (9th Cir. 1981); Pl. MPI Br. at.
  7   32. In Pittsburg, state law prohibited mail carriers from crossing lawns without the
  8   owner’s express consent, whereas federal law “authorizes postal carriers to cross
  9   lawns unless the owner objects.” Pittsburg, 661 F.2d at 785. Here, AB 32’s
 10   prohibition on persons within California operating private immigration detention
 11   facilities poses no such direct conflict with the U.S. Attorney General’s general
 12   responsibility to arrange for immigration detention in federally owned, rented, or
 13   newly constructed facilities. 8 U.S.C. § 1231(g)(1).
 14          Plaintiff has also argued that AB 32 is conflict preempted because it impedes
 15   the government’s ability to contract. Pl. MPI Br. at. 33. This argument fails
 16   because Plaintiff has not identified any statute or regulation related to government
 17   contracting with which AB 32 purportedly conflicts. Id.; see also Kansas v.
 18   Garcia, No. 17-834, slip op. at 9 (U.S. 2020) (“In all cases, the federal restrictions
 19   or rights that are said to conflict with state law must stem from either the
 20   Constitution itself or a valid statute enacted by Congress”). “There is no federal
 21   preemption in vacuo without a constitutional text, federal statute, or treaty made
 22   under the authority of the United States.” Id.
 23          In support of its contract-related preemption argument, Plaintiff has cited
 24   Gartrell Construction Inc. v. Aubry, 940 F.2d 437 (9th Cir. 1991). See Pl. MPI Br.
 25   at 33. There, the Ninth Circuit ruled that specific federal construction contracting
 26   regulations conflict preempted a state licensing law because the state requirements
 27   overlapped with the federal criteria for assessing contractors’ experience and
 28   qualifications. Gartrell, 940 F.2d at 439. The states were therefore “effectively
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                     Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.829 Page 28 of 30



  1   attempting to review the federal government’s responsibility determination.” Id. at
  2   439. The same reasoning applied in Student Loan Serving Alliance, which Plaintiff
  3   also cites, in which a state licensing law was preempted by federal regulations
  4   providing assessment criteria for loan servicer qualifications. Student Loan Serving
  5   Alliance v. District of Columbia, 351 F. Supp. 3d 26, 62-63 (D.D.C. 2016); Pl. MPI
  6   Br. at. 33. Here, there are no federal regulations related to contracting that overlap,
  7   much less conflict, with AB 32’s regulation of detention facility contractors. Thus,
  8   there is no conflict with any federal contracting laws.
  9        For all of these reasons, federal immigration law does not conflict preempt
 10   AB 32.
 11             2.     Congress Did Not Clearly and Manifestly Intend to Preempt
                       AB 32 Through Federal Criminal Law
 12
 13        Federal criminal detention law also does not conflict preempt AB 32.
 14   Congress did not clearly and manifestly intend to outsource its USMS facility
 15   operations to private contractors who would not be subject to state regulation.
 16        Congress has expressly permitted private contractors to operate criminal
 17   detention facilities housing USMS detainees in specially designated districts. See
 18   18 U.S.C. § 4013(a), (c)(1); 28 U.S.C. § 530C. However, Congress has also
 19   expressly made those contractors are subject to state regulation. Id. §
 20   4013(c)(2)(C). The purpose of this limitation is to require contractors to “meet
 21   strict standards designed to protect public safety.” 136 Cong. Rec. S17595-01,
 22   S17596, 1990 WL 168469 (Oct. 27, 1990) (statement of Sen. Kohl). Congress’
 23   clear and manifest intent therefore was to permit states to enact health and safety
 24   regulations applicable to private USMS detention facilities. See 18 U.S.C. §
 25   4013(c)(2)(C).
 26        AB 32 is the kind of state regulation that section 4013(c)(2)(C) contemplates.
 27   The law embodies the California Legislature’s determination that private detention
 28   facilities pose unacceptable safety risks to detainees. AB 32’s application to private
                                                 20
                     Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.830 Page 29 of 30



  1   operators of detention facilities is therefore consistent, and does not clearly and
  2   manifestly conflict, with Congress’ intent.
  3        Importantly, AB 32 cannot be preempted as a policy matter. “[T]he possibility
  4   that federal enforcement priorities might be upset is not enough to provide a basis
  5   for preemption.” Garcia, slip op. at 19. “The Supremacy Clause gives priority to
  6   ‘the Laws of the United States,’ not the criminal law enforcement priorities or
  7   preferences of federal officers.” Id. (quoting U.S. CONST. art. VI, cl. 2). The
  8   possible policy effects of AB 32 therefore cannot direct a finding of preemption.
  9        Federal criminal detention law therefore also does not conflict preempt AB 32.
 10                                        CONCLUSION
 11        For the reasons above, Defendants request that the Court dismiss the
 12   Complaint without leave to amend.
 13
 14   Dated: March 5, 2020                             Respectfully Submitted,
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 18
 19
 20                                                    /s/ Gabrielle D. Boutin
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                      Mem. of Pts. And Auth. ISO Mtn. to Dismiss Complaint (19-cv-2491-JLS-WVG)
Case 3:19-cv-02491-JLS-WVG Document 22 Filed 03/05/20 PageID.831 Page 30 of 30
